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Exhibit I
(Appeal for Change of Grade Cover Sheet)

 
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Page 1

St. Matthews University
school of Medicine

Appeal for Change of Grade
Cover Sheet

Please submit this Cover Sheet with all other grievance paperwork

(Pages 1, 2 and typewritten statement) to:
Dr, R.N. Sreenathan FAX: 1 345 945 3130
Dean of Student Affairs .
rnsreenathan@smucayman.com

From:
Print email address

Per the SMU Student Handbook, an “Academic Grievance” is defined
as a statement of complaint by a student relating to instruction and/or
grading that a student perceives to be unfair or otherwise detrimental
to the educational process at SMU. Issues relating to this concern
may also include testing procedures, or the quality of instruction.

if you believe that you have grounds for an academic grievance, a
concise fypewritien statement noting the key issue(s) of the grievance
as it pertains to the grade received in this course, along with the

reasons explaining why these issue(s) should result in a change of
grade, should be completed and returned to the Office of Student

Affairs. The forms to be completed include pages 1 and 2. Your
typed grievance letter will be Page 3 of your submitted paperwork.

Please read the Student Handbook relating to an appeal for a change
of grade. If you need additional clarification of schoo! policy governing

students and their responsibilities in this appeals process please
contact the Dean of Student Affairs.

   

 

DEPOSITION
EXHIBIT

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By PENGAD 800-133-6600 I
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Page 2

To: The Academic Grievance Committee

From: Date:

 

(Name of Student)

Course: Semester:

 

Grade Received:

Re: Request for Consideration of a Grade Change

| am requesting that the Academic Grievance Committee consider a
grade change for the course nofed above.

A detailed explanation of the reason(s) for this request is delineated

on
the following page(s). | understand that my grievance should be

typed.

| have read the Student Handbook relating to a Grade Appeal and
agree to abide by the policies relating to this matter.

| further state that 1 am providing fo the Committee an objective
description of the reason why | am making this request. Furthermore,
the information supplied in this appeal is accurate and represents the

facts to the best of my knowledge.

 

Signature
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St. Matthews University
School of Medicine
Appeal for Change of Grade

Cover Sheet

Please submit this Cover Sheet with all other paperwork being
submitted with your grievance (Pages J, 2 and typewritten

statement).

To: Dr. Stephen Heller FAX: 1345 945 3130

Dean of Student Affairs
sheller@smucayman.com

 

 

From:
Print email address

Per the SMU Student Handbook, an “Academic Grievance” is defined
as a statement of complaint by a student relating to instruction and/or
grading that a student perceives to be unfair or otherwise detrimental
to the educational process at SMU. Issues relating to this concern may

also include testing procedures, or the quality of instruction.

If you believe that you have grounds for an academic grievance, a
concise typewritten statement noting the key issue(s) of the grievance
as it pertains to the grade received in this course, along with the
reasons explaining why these issue(s) should result in a change of
grade, should be completed and returned to the Office of Student
Affairs. The forms to be completed can be found on Page 2. Your
typed grievance letter will be Page 3 of your submitted paperwork.

Please read the Student Handbook relating to an appeal for a change
of grade. If you need additional clarification of school policy
governing students and their responsibilities in this appeals process

please contact the Dean of Student Affairs.

PagelD #: 306

 

 

 

 
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To: The Academic Grievance Committee

From: Date:
(Name of Student)

Course: Semester:

Grade Received:

Re: Request for Consideration of a Grade Change

Tam requesting that the Academic Grievance Committee consider a
grade change for the course noted above.

A detailed explanation of the reason(s) for this request is delineated on
the following page(s). J understand that my grievance must be typed,
and that handwritten paperwork will not be accepted by the Grievance

Committee.

J have read the Student Handbook relating to a Grade Appeal and
agree to abide by the policies relating to this matter.

I further state that lam providing to the Committee an objective .
description of the reason why Iam making this request. Furthermore,
the information supplied in this appeal is accurate and represents the

facts to the best of my knowledge.

 

 

Printed Name of Student Signature
